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                   Exhibit Q Warranty Deed Page 1 of 4




                      Exhibit “Q”
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                                                                                      000972


                              GENERAL WARRANTY DEED

Date:         July 27, 2016

Grantor:      NICK JOHN JIMENEZ and ALMA JIMENEZ, husband and wife

Grantor's Mailing Address:

              NICK JOHN and ALMA JIMENEZ
              11781 State Highway 6 S
              Knox City, Texas 79529
              Knox County

Grantee:      MUHAMMAD SIDDIQI

Grantee's Mailing Address:

              MUHAMMAD SIDDIQI
              PO Box 814392
              Dallas, Texas 75381
              Tarrant County

Consideration:


        Cash and other good and valuable consideration, the receipt and sufficiency of
        which are hereby acknowledged.

Property {including any improvements):

       Being all of Lot Nine(9)of Block "8" of the Reeder Addition to the Town of Knox City
in Knox County, Texas, more commonly referred to as 805 South Aspen Avenue, Knox
City, Knox County, Texas 79529, according to the map or plat of said town and addition
which is of record in the ofTtce of the County Clerk of Knox County, Texas.

Reservations from and Exceptions to Conveyance and Warranty:

       Easement, rights-of-way and prescriptive rights that are of record in the Office of the
County Clerks of Knox County, Texas; all presently recorded restrictions, reservations,
covenants, conditions, and other instruments, otherthan liens and conveyances that affect
the property; rights of adjoining landowners in any walls and fences situated on a common
boundary; any discrepancies, conflicts or shortages in area or boundary lines and any
encroachments or overlapping of improvements.

      Grantor,tor the Consideration and subject to the Reservations from Conveyance
and the Exceptions to Conveyance and Warranty, grants, sells, and conveys to Grantee
         True and Correct
         copy of Original
         File in the Knox Counh/
        and District Cierks Office
  Case 21-04077         Doc 16-17 Filed 01/14/22 Entered 01/14/22 21:47:06            Desc
                           Exhibit Q Warranty Deed Page 3 of 4


                                                                                    000973

the Property, together with all and singuiarthe rights and appurtenances thereto in anyway
belonging, to have and to hold it to Grantee and Grantee's heirs, successors, and assigns
forever. Grantor binds Grantor and Grantor's heirs and successors to warrant and forever
defend all and singular the Property to Grantee and Grantee's heirs, successors, and
assigns against every person whomsoever lawfully claiming or to claim the same or any
part thereof, except as to the Reservations from Conveyance and the Exceptions to
Conveyance and Warranty.

      GRANTEE IS TAKING THE PROPERTY IN AN ARM'S-LENGTH AGREEMENT
BETWEEN THE PARTIES. THE CONSIDERATION WAS BARGAINED ON THE BASIS
OF AN "AS IS, WHERE IS" TRANSACTION AND REFLECTS THE AGREEMENT OF THE
PARTIES THAT THERE ARE NO REPRESENTATIONS OR EXPRESS OR IMPLIED
WARRANTIES. GRANTEE HAS NOT RELIED ON ANY INFORMATION OTHER THAN
GRANTEE'S INSPECTION.

      When the context requires, singular nouns and pronouns include the plural.



                                         N CK JO



                                           MA JIMENE

STATE OF TEXAS
COUNTY OF KNOX                       )

      This Instrument was acknowledged before me on the             davofJulv 2016 bv
NICK JOHN JIMENEZ.


                 JANET REED
         'i MY COMMISSION EXPIRES        Notary
                November 1,2016


STATE OF TEXAS
COUNTY OF KNOX                       )

      This instrument was acknowledged before me on the             dav of Julv. 2016 bv
ALMA JIMENEZ.




                  JANET REED                       blic, state of Texas
             MY COMMISSION EXPIRES
                November 1,2016
   mJe and uorrsct
   copy of Original
   File in the Knox County
   and District Clerks Office
              Case 21-04077              Doc 16-17 Filed 01/14/22 Entered 01/14/22 21:47:06   Desc
                                            Exhibit Q Warranty Deed Page 4 of 4
              True and Correct
              copy of Original
              File in the Knox Counh/                                                         000974
S\7oO         and District Clerks Office
   Tho clccur^sntto which this certificate is
   afh;<8d IS 2 full, truo, and correct copy of
   the uiiginai on file and of record in my
   office.




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